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Certificate Number: 03088-TXS-CC-037263576

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(CERTIFICATE OF COUNSELING

 

I CERTIFY that on March 15, 2023, at 12:28 o'clock PM CDT, James G Fuqua
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.8.C. 111 to provide credit counseling in the Southern District of

Texas, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.

 

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: March 15, 2023 By: ‘s/Katherine Minnich

 

 

Name: Katherine Minnich

 

Title: Counseloi

 

* Individuals who wish to file a bankruptey case under tide 11] of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 1] U.S.C. 109(h) and 521(b).

 
